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          EXHIBIT 44
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1                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
2                               ATLANTA DIVISION

3

4     DONNA CURLING, ET AL.,                 :
                                             :
5                 PLAINTIFFS,                :
      vs.                                    :   DOCKET NUMBER
6                                            :   1:17-CV-2989-AT
      BRAD RAFFENSPERGER, ET AL.,            :
7                                            :
                  DEFENDANTS.                :
8

9

10       TRANSCRIPT OF HEARING ON PRELIMINARY INJUNCTION PROCEEDINGS

11                     BEFORE THE HONORABLE AMY TOTENBERG

12                         UNITED STATES DISTRICT JUDGE

13                                  JULY 26, 2019

14                                    9:37 A.M.

15                                  VOLUME 2 OF 2

16

17

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19

20

21        MECHANICAL STENOGRAPHY OF PROCEEDINGS AND COMPUTER-AIDED

22                            TRANSCRIPT PRODUCED BY:

23
      OFFICIAL COURT REPORTER:             SHANNON R. WELCH, RMR, CRR
24                                         2394 UNITED STATES COURTHOUSE
                                           75 TED TURNER DRIVE, SOUTHWEST
25                                         ATLANTA, GEORGIA 30303
                                           (404) 215-1383
                          UNITED STATES DISTRICT COURT
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1     Q.    And you would agree with me that the National Academy of

2     Sciences report on election systems, Securing the Vote, agrees

3     that ballot marking devices that generate paper ballots are

4     acceptable for use because they provide independent auditing;

5     correct?

6     A.    I think that is what it says.        I don't have it in front of

7     me.

8     Q.    In your declaration in May, you stated that the only

9     practical way to safeguard Georgia's upcoming elections was to

10    require the use of optical scan ballots with auditing.             Do you

11    recall that statement?

12    A.    I do.

13    Q.    Isn't that contrary to what the National Academy of

14    Sciences says?     Because they also say that a ballot marking

15    device system is an appropriate method of security as long as

16    it generates a paper ballot.

17    A.    So there has been new research since the National --

18    Q.    Answer my question first and then explain.          That is not

19    consistent with what the National Academy of Sciences report

20    says; correct?

21    A.    Yes.    Because there has been new research since the

22    National Academy's result -- report that in my mind does call

23    into question the security of ballot marking devices.

24          But -- does that answer your question?

25    Q.    Yes.

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1     A.    No.    If I said that, then I said that.

2     Q.    Mr. Barron, there was a runoff election in December of

3     2018; is that correct?

4     A.    Uh-huh (affirmative).

5     Q.    And at least the Life Center Ministries polling station

6     had to use provisional ballots for a portion of that runoff

7     election; is that correct?

8     A.    I don't remember.

9                  MR. MANOSO:   If I may approach, Your Honor, I will

10    hand the witness Exhibit 14.

11    Q.    (BY MR. MANOSO)      Are you with me, Mr. Barron?

12    A.    Yes.

13    Q.    You see that this is a news article from December 4, 2018?

14    A.    Uh-huh (affirmative).

15    Q.    And this is about two Fulton precincts remaining open

16    later due to early morning issues.

17    A.    Yes.

18    Q.    As it says, the Life Center Ministries polling place

19    stayed open an hour later because a polling manager lost a

20    stack of voter access cards?

21    A.    Yes.    That is what this says, yes.

22    Q.    Do you recall that that occurred in the 2018 runoff

23    election?

24    A.    Yeah.   Vaguely, yes.

25    Q.    You have no reason to believe that that didn't occur, do

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1     you?

2     A.     No.

3     Q.     As a result of lost voter access cards, there was no

4     voting for approximately one hour; is that correct?

5     A.     Well, they would have started voting provisionally.

6     Q.     And if those ran out, there would have been no voting;

7     correct?

8     A.     Correct.

9     Q.     I'm glad you mentioned the provisional ballots because it

10    is true that once the voter access cards were lost provisional

11    ballots is what were used until those cards could be replaced;

12    correct?

13    A.     Yes.

14    Q.     And as this indicates, your office had to print more

15    ballots to be used?

16    A.     Correct.

17    Q.     Those hand-marked ballots were -- they were collected?

18    Voters were able to use them; correct?

19    A.     Yeah.   They had to go through the provisional process to

20    vote.    But yes.

21    Q.     But those hand-marked ballots were counted; correct?

22    A.     Yes.

23                  MS. RINGER:   Objection, Your Honor.      This is outside

24    the scope of direct examination.

25                  THE COURT:    Overruled.

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1     that?

2     A.    I do.

3     Q.    All right.    And he did not refuse that question; correct?

4     A.    As I recall, he followed up the email with a phone call

5     and discussed that he was capable of doing the number -- the

6     volume.    But I don't remember if he ever answered, and I'm

7     pretty sure he did not.

8     Q.    As part of this cost analysis, you at some point were

9     directed by your board to ask the Secretary of State whether

10    Morgan County could conduct elections using hand-marked paper

11    ballots; correct?

12    A.    Correct.

13    Q.    And they told you no; right?

14    A.    Yes, they did.

15    Q.    All right.    And you understand that to apply to all

16    elections that Morgan County conducts; correct?

17    A.    Correct.

18    Q.    You mentioned the DHS physical assessment for --

19                       (There was a brief pause in the proceedings.)

20    Q.    (BY MR. SPARKS)     You mentioned a DHS physical assessment

21    that Morgan County accepted from the federal government;

22    correct?

23    A.    Correct.

24    Q.    And that assessment did not include any recommendations or

25    guidance concerning cybersecurity; correct?

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1     A.    No.    It was purely a physical assessment.

2     Q.    Okay.   Forgive me.     I'm skipping along, as well, given the

3     hour.

4           Are you testifying that you take files from an FTP site

5     that is internet facing and put them into ExpressPoll?

6     A.    Correct.

7     Q.    You testified earlier that there is a USB stick that you

8     move back and forth between the county level GEMS server and

9     your internet-facing computer; is that right?

10    A.    Yes.    But it is locked when it is in my work computer.

11    Q.    Yes.    I understand.

12          You have described a number of policies and procedures

13    concerning the administration of elections tonight; correct?

14    A.    Yes.

15    Q.    I'm sorry?

16    A.    Yes.

17    Q.    And if this Court orders relief in this case concerning

18    how ballots are cast and counted, you will cause Morgan County

19    elections to follow that order; correct?

20    A.    Yes.

21                 MR. SPARKS:   No further questions at this time.

22    Thank you.

23                               CROSS-EXAMINATION

24    BY MR. BROWN:

25    Q.    Hi, Ms. Doran.     Good to see you again.      Bruce Brown.

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